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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

                                                     )
VIETNAM VETERANS OF AMERICA,                         )
CONNECTICUT STATE COUNCIL OF                         )
VIETNAM VETERANS OF AMERICA,                         )      DECLARATION OF SERVICE
AND ANTHONY D. MALONI,                               )
                                                     )
                      Plaintiff,                     )
                                                     )              3:17-cv-01660-AWT
               v.                                    )
                                                     )
                                                     )
DEPARTMENT OF DEFENSE                                )              October 16, 2017
                                                     )
                                                     )
                              Defendant.             )
                                                     )
––––––––––––––––––––––––––––––––––––––––––

                                    PROOF OF SERVICE

       I, John Frawley, hereby declare that I caused Service of the Summons and Complaint in

the above-referenced action to be made as follows:

       1.      On October 10, 2017, I caused one copy of the Summons issued in this case, the

Complaint, the Standing Protective Order, the Electronic Filing Order, and the Notice to

Counsel and Pro Se Parties to be sent by certified mail to Defendant Department of Defense,

1000 Defense Pentagon, Washington, District of Columbia 20301

       2.      On October 10, 2017, I caused one copy of the Summons issued in this case, four

copies of the Complaint, and one copy of the Standing Protective Order, the Electronic Filing

Order, and the Notice to Counsel and Pro Se Parties to be sent by certified mail to the United

States Attorney’s Office for the District of Connecticut at 157 Church Street, Floor 25, New

Haven, Connecticut 06510.

       3.      On October 10, 2017, I caused one copy of the Summons issued in this case, the
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Complaint, the Standing Protective Order, the Electronic Filing Order, and the Notice to Counsel

and Pro Se Parties to be sent by certified mail to the United States Attorney General, Department

of Justice, 950 Pennsylvania Avenue Northwest, Washington, District of Columbia 20530.

        4.      Besides mailing costs, no other fees were paid or incurred in conjunction with

service in this case.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing information is true and correct.

        Dated: October 16, 2017



                                                     ____________________________

                                                     John Frawley, Law Student Intern
                                                     Veterans Legal Services Clinic
                                                     Jerome N. Frank Legal Service Organization
                                                     P.O. Box 209090
                                                     New Haven, CT 06520-9090
                                                     (203) 432-4800
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2017, a copy of the foregoing Proof of Service was

filed electronically. Since Counsel for Defendant as not yet appeared in this case, copies of this

ECF will be mailed via certified mail to:

Department of Defense
1000 Defense Pentagon
Washington, District of Columbia 20301

United States Attorney’s Office for the District of Connecticut
157 Church Street, Floor 25
New Haven, Connecticut 06510

United States Attorney General
Department of Justice
950 Pennsylvania Avenue Northwest
Washington, District of Columbia 20530


                                      |s/ Michael J. Wishnie
                                      Michael J. Wishnie, ct27221
                                      Veterans Legal Services Clinic
                                      Jerome N. Frank Legal Services Organization
                                      P.O. Box 209090
                                      New Haven, CT 06520-9090
                                      Tel.: (203) 432-4800
                                      Fax: (203) 432-142
